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EXHIBIT A
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Attorneys for Plaintiff, Cambridge Pavers, Inc.

 

: SUPERIOR COURT OF NEW JERSEY
CAMBRIDGE PAVERS, INC., LAW DIVISION: BERGEN COUNTY
: DOCKET NO. BER-L-

Plaintiff,
y. COMPLAINT
: AND
LIBERTY INSURANCE JURY DEMAND

CORPORATION, LIBERTY MUTUAL
FIRE INSURANCE COMPANY, LM
INSURANCE CORPORATION, ‘THE
CHARTER OAK FIRE INS. CO. and THE
TRAVELERS INDEMNITY CO. of
AMERICA,

Defendant.

 

Plaintiff Cambridge Pavers, Inc. (‘Cambridge’), by and through its attorneys Carella,
Byrne, Cecchi, Olstein, Brody & Agnello, P.C., by way of Complaint against Defendants,
Liberty Insurance Corporation, Liberty Mutual Fire Insurance Company, LM Insurance
Corporation, The Charter Oak Fire Ins. Co. and The Travelers Indemnity Co. of America, hereby

states as follows:
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PARTIES

1. Cambridge is a corporation organized under the laws of the State of New Jersey,
with its principal place of business located at Jerome Avenue, Lyndhurst, New Jersey 07071.
Cambridge’s business began in 1995 and includes the manufacture and sale of concrete paving
stone products in the State of New Jersey and in other states.

2. Upon information and belief, Defendant Liberty Insurance Corporation (“LIC”) 1s
a corporation organized under the laws of the State of Illinois, with its principal place of business
located at 2815 Porbs Avenue Suite 200, Hoffman Estates, [linois 60192.

3. Upon information and belief, LIC is licensed to do business in the State of New
Jersey.

4. Upon information and belief, Defendant Liberty Mutual Fire Insurance Company
(“Liberty Mutual Fire”) is a corporation organized under the laws of the State of Wisconsin, with
its principal place of business located at 2000 Westwood Drive, Wausau, Wisconsin 54401.

5. Upon information and belief, Liberty Mutual Fire is licensed to do business in the
State of New Jersey.

6. Upon information and belief, LM Insurance Corporation (“LMI”) is a corporation
organized under the laws of the State of Llinots, with its principal place of business located at
2815 Forbs Avenue Suite 200, Hoffman Estates, [linois 60192.

7, Upon information and belief, LMI is licensed to do business in the State of New
Jersey.

8. Upon information and belief, LIC, Liberty Mutual Fire and LMI are affiliated
with Liberty Mutual Group.

9. LIC, Liberty Mutual Fire and LMI are referred to herein collectively as “Liberty”.
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10. Upon information and belief, The Charter Oak Fire Ins. Co. (“Charter Oak’) is a
corporation organized under the laws of the State of Connecticut, with its principal place of
business located at One Tower Square, Hartford, Connecticut 06183-6014.

11. Upon information and belief, Charter Oak is licensed to do business in the State
of New Jersey.

12. Upon information and belief, The Travelers Indemnity Co. of America
(“Travelers Indemnity”) is a corporation organized under the laws of the State of Connecticut,
with its principal place of business located at with its principal place of business located at One
Tower Square, Hartford, Connecticut 06183-6014.

13. | Upon information and belief, Travelers Indemnity is licensed to do business in the
State of New Jersey.

14. Upon information and belief, Charter Oak and Travelers Indemnity operate as
subsidiaries of The Travelers Indemnity Company,

15. Charter Oak and Travelers Indemnity are referred to herein collectively as
“Travelers”,

NATURE OF THE ACTION

16. The within action seeks a declaratory judgment confirming Defendants’
obligations to defend and indemnify Cambridge under policies of insurance issued by
Defendants to Cambridge. The action also seeks compensatory damages for Defendants’ breach
of the insurance contracts they issued to Cambridge and for breach of the implied covenant of

good faith and fair dealing associated with those insurance contracts.
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FACTS COMMON TO ALL COUNTS

17. On or about January 13, 2017, EP Henry Corporation (“EP Henry’) filed a
lawsuit against Cambridge entitled EP Henry Corporation v. Cambridge Pavers, Inc., Superior
Court of New Jersey, Bergen County (the “Underlying Action”). The Underlying Action was
removed to the United States District Court, District of New Jersey and bears Civil Action No.
1:17-cv-1538(JBS)(KMW).

18. The Underlying Action alleges, among other things, that Cambridge’s advertising
is false and misleading in violation of the Lanham Act, 15 U.S.C. §1125(a).

19. In the Underlying Action, EP Henry asserts, among other things, that:

* Cambridge's claims are false, deceptive, misleading, and have caused and
continue to cause commercial harm to Plaintiff.

* Cambridge has caused, and will continue to cause, immediate and irreparable
injury to Plainuff, including injury to Plaintiffs business, reputation and
goodwill, ...

20. EP Henry’s claims allegedly arise from Cambridge’s print advertisement, radio
advertisement, television advertisement and website advertisement.

21. In ongoing discovery in the Underlying Action, Cambridge served EP Henry with
Requests for Admission that, among other things, requested EP Henry to admit that Cambridge
had never made any disparaging remarks about EP Henry’s business or products in any of its
advertising, and also requested EP Henry to admit that Cambridge had never cast aspersions
upon or made denigrating remarks about EP Henry’s products or business in any of its
advertising.

22. EP Henry, in its Responses to Cambridge’s Requests for Admission, refused to

admit any of the foregoing, thereby confirming that it is EP Henry’s position that the issue of
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Cambridge’s advertising disparaging, denigrating and casting aspersions upon EP Henry’s
products and business is a part of EP Henry’s claims in the Action,

23. EP Henry’s other discovery responses likewise confirm that EP Henry’s claims
include claims that Cambridge made disparaging remarks about EP Henry’s products and
business.

The Travelers’ Policies

24. Charter Oak issued a CGL policy to Cambridge, Policy No. Y-630-0642L093-
CDF-09, for the policy period 06/07/09-06/07/10.

25. Travelers Indemnity issued a CGL policy to Cambridge, Policy No. Y-630-
0642L093-TIA-10, for the policy period 06/07/10-06/07/11.

26. Both the Charter Oak policy and the Travelers Indemnity Policy provide
Cambridge with coverage for “advertising injury” and “web site injury” (collectively, the Charter
Oak policy and Travelers Indemnity policy are referred to as the “Travelers Policies”).

27. Under the Web Xtend Endorsement to the Travelers Policies, the insuring
agreement provides coverage as follows:

This insurance applies to:

(1) “Personal injury” caused by an offense arising out of your
business, excluding advertising, publishing, broadcasting or
telecasting done by or for you;

(2) “Advertising injury” caused by an offense committed in
the course of advertising your goods, products or services;
or

(3) “Web site injury” caused by an offense committed in the
course of the visual or audio presentation of material on

“your web site” or in the numerical expression of computer
code used to enable “your web site’;
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but only if the offense was committed in the “coverage territory”
during the policy period.

28. Under the Web Xtend Endorsement, the “coverage territory” is defined as;

a. The United States of America (including its territories and
possessions), Puerto Rico and Canada,

b. International waters or airspace, but only if the injury or
damage occurs in the course of travel or transportation
between any places included in a. above; or

Cc. All parts of the world if the injury or damage arises out of:

qd) Goods or products made or sold by you in the
territory described in a. above;

(2) The activities of a person whose home is in the
territory described in a, above, but who is away for
a short time on your business; or

(3) “Personal injury”, “advertising injury’, and “web
site injury” offenses that take place through the
Internet or similar electronic means of
communication; ...

29. Under the Web Xtend Endorsement, Coverage B. Personal Injury, Advertising
Injury and Web Site Injury provides coverage for:

(2) “Advertising injury” caused by an offense committed in the
course of advertising your goods, products or services; or

(3) “Web site injury” caused by an offense committed in the
course of the visual or audio presentation of material on
“your web site" or in the numerical expression of computer
code used to enable "your web site"

30. “Advertising injury” is defined as:

“Advertising injury’ means injury, arising out of one or more of
the following offenses:

a. Oral, written or electronic publication of material that
slanders or libels a person or organization or disparages a
person’s or organization’s goods, products or services,
provided that claim is made or “suit” is brought by a
person or organization that claims to have been slandered
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or libeled, or whose goods, products or services have
allegedly been disparaged;

b. Oral, written or electronic publication of material that
appropriates a person's likeness, unreasonably places a
person in a false light or gives unreasonable publicity to a
person's private life; or

c. Infringement of copyright, title or slogan, provided that
claim is made or "suit" is brought by a person or
organization claiming ownership of such copyright, title or
slogan.

31. “Web site injury” is defined as:

“Web site injury” means injury, other than “personal injury” or
“advertising injury”, arising out of one or more of the following
offenses:

a. Oral, written or electronic publication of material that
slanders or libels a person or organization or disparages a
person’s or organization’s goods, products or services,
provided that claim is made or “suit” is brought by a
person or organization that claims to have been slandered
or libeled, or whose goods, products or services have
allegedly been disparaged;

b. Oral, written or electronic publication of material that
appropriates a person's likeness, unreasonably places a
person in a false light or gives unreasonable publicity to a
person's private life;

c. Oral, written or electronic publication of material that
violates a person's right of publicity, provided that claim is
made or “suit" is brought by the person claiming rights of
publicity; or

d. Infringement of copyright, title or slogan, provided that
claim is made or “suit” is brought by a person or
organization claiming ownership of such copyright, title or
slogan.
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The Liberty Policies

32, LIC issued CGL policies to Cambridge, Policy No. YY7-Z211-260688-031/1, for
the policy period 06/07/11 to 06/07/12, Policy No. TB2-211-260688-064, for the policy period
6/7/14 to 6/7/15, and Policy No. TB2-Z1 1-260688-065, for the policy period 6/7/15 to 6/7/16.

33, Liberty Mutual Fire issue CGL policies to Cambridge, Policy No. YY2-211-
260688-032, for the policy period 6/7/12 to 6/7/13, and Policy No. TB2-Z21 1-260688-063, for the
policy period 6/7/13 to 6/7/14.

34. LMI issued a CGL policy to Cambridge, Policy No. TB2-211-260688-066, for
the policy period 6/7/16 to 6/7/17,

35. The LIC, Liberty Mutual Fire and LMC policies provide Cambridge with
coverage for “advertising injury” (collectively, the LMI policies, the Liberty Mutual Fire policies
and the LMC policy are referred to as the “Liberty Policies”),

36. Under Coverage B, Personal and Advertising Injury, the “insurance applies to
‘personal and advertising injury’ caused by an offense arising out of your business but only if the
offense was committed in the ‘coverage territory’ during the policy period.”

37. Under the Personal and Advertising Injury Amendment, “advertisement” is
defined as follows:

“Advertisement” means a paid announcement that is broadcast or

published in the print, broadcast or electronic media to the general

public or specific market segments about your goods, products or

services for the purpose of attracting customers or supporters. Por

the purposes of this definition:

a. Announcements that are published include material placed
on the Internet or on similar electronic mean of

communication; and

b. Regarding web-sites, only that part of a web-site that is
about your goods, products or services for the purposes of
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attracting customers or supporters is considered an
advertisement.

38, Under the Personal and Advertising Injury Amendment, “personal and advertising
injury” is defined as:

a. Injury, including consequential “bodily injury”, to the
feelings and reputation of a natural person (including
mental anguish) caused by an offense arising out of your
business, except injury arising out of:

(1) your “advertisement”, or
(2) publishing, broadcasting or telecasting done by or
for you.

b, injury, including consequential “bodily injury”, arising out
of one or more of the following offenses:

(1) False arrest, detention or imprisonment;

(2) Malicious prosecution or abuse of process;

(3) The wrongful eviction from, wrongful entry into, or
invasion of the right of private occupancy of a
room, dwelling or premises that a person occupies,
committed by or on behalf of its owner, landlord or
lessor;

(4) Oral or written publication of material that
slanders or libels a person or organization or
disparages a person’s or organization’s goods,
products or services;

6) Oral or written publication of material that violates
a person’s right of privacy;

(6) The use of another’s advertising idea in your
“advertisement”; or

(7) — Infringing upon another's copyright, trade dress or
slogan in your “advertisement”

39. Under the Liberty Policies, the “coverage territory” is defined as:

a. The United States of America (including its territories and
possessions), Puerto Rico and Canada;

b. International waters or airspace, but only if the injury or
damage occurs in the course of travel or transportation
between any places included in Paragraph a. above; or
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c, All other parts of the world if the injury or damage arises
out of;

(1} Goods or products made or sold by you in the
territory described in Paragraph a. above;

(2) The activities of a person whose home is in the
territory described in Paragraph a. above, but is
away for a short time on your business; or

(3) “Personal and advertising injury” offenses that
take place through the Internet or similar
electronic means of communication provided the
insured's responsibility to pay damages is
determined in a "suit" on the merits, in the territory
described in Paragraph a, above or in a settlement
we agree to.

Travelers’ Wrongful Declination of Coverage
40. Cambridge timely notified Travelers of its claim under the Travelers Policies.
41. Travelers issued its declination of coverage by letter dated April 25, 2018. In the
April 25 letter, Travelers wrongfully determined that coverage was not available to Cambridge
for the Underlying Action for the following reasons:

Based on our review of the facts alleged and claims asserted in
claimant’s lawsuit and based on the coverage language, Travelers
has determined that it has no obligation to indemnify or defend
Cambridge in this matter under the referenced policy. As a
threshold matter, there is no allegation of “bodily injury,”
“property damage,” “personal injury” or “advertising injury” as
those terms are defined in the policy.

The basis for plaintiff’s allegations against Cambridge is that
Cambridge engaged in false and misleading marketing of its
product. These allegations do not constitute an “occurrence”
resulting in “bodily injury” or “property damage”, as those terms
are defined in the policy, and so do not trigger the Coverage A
insuring agreement.

Additionally, these allegations also do not meet any of the

enumerated offenses giving rise to “personal injury’ or
“advertising injury” as defined in Coverage B of the policy,

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Because the allegations of the claim do not arise from an
“occurrence” resulting in “bodily injury” or “property damage”
and also do not fall within the “advertising injury,” and/or
“personal injury” insuring agreements under Coverage B, we
unfortunately are unable to respond to the your request for
coverage for this matter,

42. Cambridge requested Travelers to reconsider its position by letter dated May 2,
2018.

43. Travelers refused to withdraw its declination of coverage determination and
reaffirmed that determination in its letter date May 22, 2018.

44, By letter dated May 30, 2018, Cambridge advised Travelers that discovery
conducted to date revealed that EP Henry was in fact alleging that Cambridge’s advertising
disparaged EP Henry’s goods/products. In that letter, Cambridge requested Travelers to
reconsider its May 22 determination and provide coverage to Cambridge for the Underlying
Action.

45. Subsequent to Cambridge’s May 30 letter, Travelers requested additional
information that Cambridge provided.

46. By letter dated August 13, 2018, Travelers again refused to withdraw its
declination of coverage.

Liberty’s Wrongful Declination of Coverage

47, Cambridge timely notified Liberty of its claim under the Liberty Policies.

48. — Liberty issued its declination of coverage by letter dated April 27, 2018. In the
April 27 letter, Liberty wrongfully denied coverage, stating:

The Policies potentially apply to those sums that the insured
becomes legally obligated to pay as damages because of “personal
and advertising injury” as defined by the Policies. Since this matter

seeks actual or alleged damages other than damages because of
“personal and advertising injury,” there is no insurance coverage

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for those damages under Coverage B - Personal and Advertising
Injury Liability.

Specifically, the Coverage B of the Policies provides coverage for
damages the insured becomes legally obligated to pay arising out
of the offense of oral or written publication of material that
disparages a person’s or organization’s goods, products or services,
Because Plaintiff does not seek damages as against Cambridge
arising out of the oral or written publication of material that
disparages Plaintiff's goods or products, there is no insurance
coverage for the Lawsuit under Coverage B of the Policies.
Further, the Lawsuit does not involve damages because arising out
of any of the other offenses included in the definitions of “personal
and advertising injury’ included in the Policies.
49. Cambridge requested Liberty to reconsider its position by letters dated May 14,
2018 and June 22, 2018.
50. Liberty refused to withdraw its declination of coverage determination and

reaffirmed that determination by letter dated July 17, 2018.

The Claims in the Underlying Action are Covered by
the Travelers Policies and the Liberty Policies

51. The allegations in the Underlying Action, together with EP Henry’s discovery
responses to date, demonstrate that the claims asserted against Cambridge in the Underlying
Action constitute an “offense” for which there is coverage under the Travelers Policies and the
Liberty Policies.

52. Travelers and Liberty have wrongfully and unjustifiably denied covered for the
claims asserted against Cambridge in the Underlying Action.

COUNT ONE
(Breach of Contract Against Travelers)

53. Cambridge repeats, reiterates and realleges each and every allegation contained in

Paragraphs | through 52 of its Complaint.

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54, Cambridge complied with all of its obligations under the Travelers Policies,
including but not limited to payment of premiums.

55. In accordance with the provisions of the Travelers Policies, Cambridge, through
its broker, notified Travelers of Cambridge’s claim for coverage as a result of the Underlying
Action.

56. In accordance with the provisions of the Travelers Polices, Travelers was and is
obligated to defend and indemnify Cambridge with respect to the Underlying Action.

57. In accordance with the provisions of the Travelers Policies, Cambridge has fully
cooperated with Travelers, including but not limited to providing Travelers with documentation
and information.

58. Travelers has wrongfully refused to defend and indemnify Cambridge in
connection with the Underlying Action.

59. ‘Travelers conduct constitutes a material breach of the contract of insurance
between Cambridge and Travelers,

60. As a direct and proximate result of Travelers material breach of the contract of
insurance, Cambridge has suffered and will continue to suffer substantial damages.

WHEREFORE, Cambridge demands judgment against Travelers for:

(a) Compensatory damages;

(b) Costs of suit;

(c) Attorneys’ fees; and

(d) Such other and further relief that the Court deems just and equitable,

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COUNT TWO
(Declaratory Judgment for Defense and Indemnification Against Travelers)

61. Cambridge repeats, reiterates and realleges each and every allegation contained in
Paragraphs | through 60 of its Complaint.

62. There exists a justiciable and triable dispute and controversy between the parties
which is ripe for adjudication,

63. The Travelers Policies required Travelers to provide Cambridge with a defense
and indemnification with respect to the Underlying Action.

64. Travelers has wrongfully denied coverage under the Travelers Policies.

65, ‘Travelers’ conduct constitutes a substantial and material breach of the Travelers
Policies.

66. A declaratory judgment is appropriate and warranted at this time to determine the
rights of the parties and to prevent unnecessary damages to Cambridge.

WHEREFORE, Cambridge demands judgment, pursuant to the Uniform Declaratory
Judgment Law, N.J.S.A. 2A:16-50, ef seg., against Travelers as follows:

(a) Declaring that Travelers must:

(i) reimburse Cambridge for all fees (including attorneys’ fees and expert
fees), costs and expenses incurred by Cambridge in connection with the defense of the
Underlying Action;

(ii) pay for all costs, fees and expenses incurred by Cambridge in connection
with the ongoing defense of the Underlying Action; and

Giii} completely and fully indemnify Cambridge with respect to the Underlying
Action;

(b) Awarding Cambridge attorneys’ fees pursuant to Rule 4:42-9;

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(c) Awarding Cambridge costs of suit;
(d) Awatding Cambridge such other and further relief as the Court deems equitable

and just.

COUNT THREE
(Breach of the Implied Covenant of Good Faith and Fair Dealing Against Travelers)

67. Cambridge repeats, reiterates and realleges each and every allegation contained in
Paragraphs 1 through 66 of its Complaint.

68. The law requires that insurance companies act in good faith, abstain from
deception and practice honesty and equity in their dealings with their policyholders.

69. The Travelers Policies have, as part of their terms, an implied covenant of good
faith and fair dealing.

70. Under the Travelers Policies and in accordance with well settled law, Travelers is
obligated to deal with Cambridge fairly and in good faith.

71. ‘Travelers has breached its duty of good faith and fair dealing by and among other
things refusing to provide coverage to Cambridge for the Underlying Action.

72. Travelers’ conduct was calculated to further its own economic interest at the
expense of Cambridge.

73. Travelers’ conduct constitutes a material breach of the covenant of good faith and
fair dealing,

74, Asadirect and proximate result of Travelers’ breach of the covenant of good faith
and fair dealing, Cambridge has suffered and will continue to suffer substantial damages.

WHEREFORE, Cambridge demands judgment against Travelers for:

(a) Compensatory damages;

(b) Costs of suit;

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(c) Attorneys' fees pursuant to Rule 4:42-9; and
(d) Such other and further relief as the Court deems equitable and just.

COUNT FOUR
(Breach of Contract Against Liberty)

75. Cambridge repeats, reiterates and realleges each and every allegation contained in
Paragraphs 1 through 74 of its Complaint.

76. Cambridge complied with all of its obligations under the Liberty Policies,
including but not limited to payment of premiums.

77. n accordance with the provisions of the Liberty Policies, Cambridge, through its
broker, notified Liberty of Cambridge’s claim for coverage as a result of the Underlying Action.

78. In accordance with the provisions of the Liberty Polices, Liberty was and is
obligated to defend and indemnify Cambridge with respect to the Underlying Action.

79. In accordance with the provisions of the Liberty Policies, Cambridge has fully
cooperated with Liberty, including but not limited to providing Liberty with documentation and
information.

80. Liberty has wrongfully refused to defend and indemnify Cambridge in connection
with the Underlying Action.

81. Liberty conduct constitutes a material breach of the contract of insurance between
Cambridge and Travelers.

82. As a direct and proximate result of Liberty material breach of the contract of
insurance, Cambridge has suffered and will continue to suffer substantial damages,

WHEREFORE, Cambridge demands judgment against Liberty for:

(a) Compensatory damages;

(b) Costs of suit;

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(c) Attorneys’ fees; and
(d) Such other and further relief that the Court deems just and equitable.

COUNT FIVE
(Declaratory Judgment for Defense and Indemnification Against Liberty)

83. Cambridge repeats, reiterates and realleges each and every allegation contained in
Paragraphs 1 through 82 of its Complaint.

84. There exists a justiciable and triable dispute and controversy between the parties
which is ripe for adjudication.

85. The Liberty Policies required Liberty to provide Cambridge with a defense and
indemnification with respect to the Underlying Action.

86. Liberty has wrongfully denied coverage under the Liberty Policies.

87.  Liberty’s conduct constitutes a substantial and material breach of the Liberty
Policies.

88. A declaratory judgment is appropriate and warranted at this time to determine the
rights of the parties and to prevent unnecessary damages to Cambridge.

WHEREFORE, Cambridge demands judgment, pursuant to the Uniform Declaratory
Judgment Law, N.J.S.A. 2A:16-50, et seg., against Liberty as follows:

(a) Declaring that Liberty must:

i) reimburse Cambridge for all fees (including attorneys’ fees and expert
fees), costs and expenses incurred by Cambridge in connection with the defense of the
Underlying Action;

(ii) pay for all costs, fees and expenses incurred by Cambridge in connection

with the ongoing defense of the Underlying Action; and

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(iii) completely and fully indemnify Cambridge with respect to the Underlying
Action;
(b) Awarding Cambridge attorneys’ fees pursuant to Rule 4:42-9;
(c) Awarding Cambridge costs of suit;
(d) Awarding Cambridge such other and further relief as the Court deems equitable

and just.

COUNT SIX
(Breach of the Implied Covenant of Good Faith and Fair Dealing Against Liberty)

89. Cambridge repeats, reiterates and realleges each and every allegation contained in
Paragraphs 1 through 88 of its Complaint.

90. The law requires that insurance companies act in good faith, abstain from
deception and practice honesty and equity in their dealings with their policyholders.

91. The Liberty Policies have, as part of their terms, an implied covenant of good
faith and fair dealing.

92. Under the Liberty Policies and in accordance with well settled law, Liberty is
obligated to deal with Cambridge fairly and in good faith.

93, Liberty has breached its duty of good faith and fair dealing by and among other
things refusing to provide coverage to Cambridge for the Underlying Action.

94. —_ Liberty’s conduct was calculated to further its own economic interest at the
expense of Cambridge.

95, —_ Liberty’s conduct constitutes a material breach of the covenant of good faith and
fair dealing.

96. Asa direct and proximate result of Liberty’s breach of the covenant of good faith

and fair dealing, Cambridge has suffered and will continue to suffer substantial damages.

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WHEREFORE, Catnbridge demands judgment against Liberty for:

(a) Compensatory damages;

(b) Costs of suit;

(c) Attorneys’ fees pursuant to Rule 4:42-9; and

(d) Such other and further relief as the Court deems equitable and just.
Dated: August 15, 2018 CARELLA, BYRNE, CECCHI,

OLSTEIN, BRODY & AGNELLO, P.C.

By: __/s/ John M, Agnello
JOHN M. AGNELLO
MELISSA E. FLAX
CHRISTOPHER J. BUGGY

JURY DEMAND

Cambridge demands a trial by jury on all issues so triable.

Dated: August 15, 2018 CARELLA, BYRNE, CECCHE
OLSTEIN, BRODY & AGNELLO, P.C.

By: __/s/ John M, Agnello
JOHN M. AGNELLO
MELISSA E, FLAX
CHRISTOPHER J. BUGGY

-19-
Case 182 rev-665078-48 Sos NBit0 fagrsonanet: by buad BOaheID: Ravedis ol By sage |D: 25

CERTIFICATION PURSUANT TO RULE 4:5-1
I hereby certify that, to the best of my knowledge, the matter in controversy is not the
subject of any other action pending in any court in this jurisdiction, or of any pending arbitration
or administrative proceeding, other than EP Henry Corporation v. Cambridge Pavers, Inc.,
United States District Court, District of New Jersey, Civil Action No. 1:17-cv-
15380BS)(KMW). I know of no other parties who should be joined in the action at this time.

CARELLA, BYRNE, CECCHI,
OLSTEIN, BRODY & AGNELLO, P.C.

Dated: August 15, 2018 By: __4s/ John M, Agnello
JOHN M. AGNELLO
MELISSA E, FLAX
CHRISTOPHER J. BUGGY

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Case 1: 18ERvL1léobetelBS-bans/ediea-soeel Amul Priad PFAAdIB: ieae@e BA afevePagelD: 26

Civil Case Information Statement

 

Case Caption: CAMBRIDGE PAVERS, INC. VS LIBERTY Case Type: CONTRACT/COMMERCIAL TRANSACTION
INSURANCE CO Document Type: Complaint with Jury Demand

Case Initiation Date: 08/15/2018 Jury Demand: YES - 6 JURORS

Attorney Name: JOHN M AGNELLO Hurricane Sandy related? NO

Firm Name: CARELLA BYRNE CECCHI OLSTEIN BRODY Is this a professional malpractice case? NO

& AGNELLOG PG Related cases pending: YES

Address: 5 BECKER FARM RD If yes, list docket numbers: United States District Court, District of
ROSELAND NJ 070681738 New Jersey Civil Action No, 1:17-ev-1538(BS)(KMW}

Phone: Do you anticipate adding any partles (arising out of same

Name of Party: PLAINTIFF : Cambridge Pavers, Inc. transaction or occurrence)? NO

Name of Defendant's Primary Insurance Company

(if known): None

   
  
 

 
   

RMINING IF CASE IS APPROPRIATE FOR MEDIATION ~
Do parties have a current, past, or recurrent relationship? YES

If yes, is that relationship: Business

Does the statute governing this case provide for payment of fees by the losing party? NO

Use this space to alert the court to any special case characteristics that may warrant individual
management or accelerated disposition:

Do you or your client need any disability accommodations? NO
If yes, please identify the requested accommodation:

Will an interpreter be needed? NO
If yes, for what language:

 

1 certify that confidential personal identifiers have been redacted from documents now submitted to the
court, and will be redacted fram all documents submitted in the future in accordance with Rule 1:38-7(b)

08/15/2018 fsf JOHN MAGNELLO
Dated Signed
